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   CONTINUATION OF AN APPLICATION FOR A SEARCH WARRANT

     I, Heather Williamson, being duly sworn, state as follows:

                    INTRODUCTION AND BACKGROUND

     1.     I make this continuation as part of an application for a search warrant

under Rule 41 of the Federal Rules of Criminal Procedure, 18 U.S.C. §§ 2703(a),

2703(b)(1)(A), and 2703(c)(1)(A), for information associated with an account that is

stored at premises owned, maintained, controlled, or operated by Apple, Inc.

(“Apple”), an electronic communications service provided and/or remote computing

service, headquartered at One Apple Park Way, Cupertino, California. The

information to be searched is Apple ID “michaelrh1986@gmail.com” (the “Subject

Account”), as described in the following paragraphs and in Attachment A. This

search warrant will require Apple to disclose to the government copies of information

(including the contents of communications) further described in Section I of

Attachment B. Upon receipt of the information described in Section I of Attachment

B, government-authorized persons will then review that information to locate and

seize the items described in Section II of Attachment B.

     2.     I am a Special Agent of the Drug Enforcement Administration (“DEA”)

and have been so employed since January 2013. I am currently assigned to the

Grand Rapids District Office. Previously, I was assigned to the Southwest Border

Initiative Group-3 (“SWB-3”) and to the Los Angeles Strike Force for approximately

six years. The Los Angeles Strike Force is an investigative group jointly led by the

DEA and the FBI, and composed of several other federal, state, and local agencies
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that is focused on the disruption of the Mexico-based Sinaloa Cartel.         Prior to

working as a DEA Special Agent, I completed 20 weeks of training at the DEA

Academy    in   Quantico,   Virginia,   which   included   instruction   in   narcotics

identification, detection, trafficking, and interdiction; money laundering techniques;

asset identification, seizure, and forfeiture; and techniques used by narcotics

traffickers to avoid detection by law enforcement officials. I have investigated drug

trafficking organizations involved in violating various federal laws, including, but

not limited to, unlawful importation of controlled substances; the distribution of

controlled substances; manufacturing of controlled substances; and possession with

intent to distribute controlled substances, including cocaine, methamphetamine,

heroin, and other dangerous drugs; as well as money laundering. I have participated

in investigations of unlawful drug trafficking and money laundering and, among

other things, have conducted or participated in surveillance; execution of search

warrants; debriefings of informants; reviewing of taped conversations and drug

records; and have participated in investigations that include the interception of wire

communications.

     3.     Through my training, education, and experience, I have become familiar

with the manner in which illegal drugs are transported, stored, and distributed, the

methods of payment for such drugs, the laundering of narcotics proceeds, and the

dialect (lingo) and coded language used by narcotics traffickers. In connection with

my duties, I investigate criminal violations of the federal and state controlled

substance laws, including, but not limited to, conspiracy and attempt to possess with
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intent to distribute and to distribute controlled substances, in violation of Title 21,

United States Code, Section 846; possession with intent to distribute and

distribution of controlled substances, in violation of Title 21, United States Code,

Section 841(a)(1); use of communication facilities to facilitate drug trafficking

offenses, in violation of Title 21, United States Code, Section 843(b); and offenses

involving money laundering as well as conspiracy and attempt to do the same, in

violation of Title 18, United States Code, Sections 1956 and 1957. Many of these

investigations also involve firearms offenses, including violations of Title 18, United

States Code, Sections 922 and 924.

      4.     The facts in this application come from my personal observations, my

training and experience, and information obtained from other agents and witnesses.

This application is intended to show merely that there is sufficient probable cause for

the requested warrant, and does not set forth all of my knowledge about this matter.

      5.     Based on my training and experience, the facts as set forth in this

application, and my knowledge of this investigation, there is probable cause to

believe that violations of 21 U.S.C. §§ 841(a)(1) and 846 have been committed, are

being committed, and will be committed by MICHAEL THOMAS, a/k/a “Money,” and

his associates, known and unknown. I further submit that there is probable cause to

believe that the Subject Account is being used by THOMAS to facilitate his drug

trafficking activities and that, finally, there is probable cause to search the

information described in Attachment A for evidence of these crimes, as described

more fully in Attachment B.
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                                        JURISDICTION

          6.     This Court has jurisdiction to issue the requested warrant because it is

    “a court of competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C.

    §§ 2703(a), (b)(1)(A), (c)(1)(A). Specifically, the Court is a “district court of the United

    States . . . that has jurisdiction over the offense being investigated.” 18 U.S.C.

    § 2711(3)(A)(i).

                                     PROBABLE CAUSE

          7.     On August 9, 2023, the Court authorized a Search Warrant for this

Subject Account, Case No. 1:23-mj-393-PJG, for information and evidence from

September 26, 2022 to August 29, 2023. The probable cause from that search warrant

is incorporated here.

          8.     Generally, the probable cause for the Subject Account can be

summarized as follows:

                 a.     Since at least early 2023, the DEA, the Michigan State Police
                        (“MSP”), and the MSP-sponsored Southwest Enforcement Team
                        (“SWET”) have been investigating THOMAS1 and other
                        individuals that coordinate drug trafficking activities, and the
                        movement of bulk cash throughout Western Michigan, to include
                        Kent County and Ionia County.




1 THOMAS’s criminal history includes state convictions for misdemeanor traffic
violations, possession of marijuana, domestic violence, and felony convictions for
del/mfg controlled substance- cocaine or heroin less than 50 grams, possession of a
controlled substance- cocaine or heroin less than 25 grams, 3rd degree home invasion,
possession of a firearm by a felon, 2nd offense notice habitual offender,
resisting/obstructing/assault    of   a    police    officer  and     possession   of
methamphetamine/ecstasy.
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            b.    In January 2020, the United States Postal Inspection Service
                  (“USPIS”) and the Metropolitan Enforcement Team (“MET”)
                  investigated the attempted delivery of a package to 758 Prince
                  Street SE, Grand Rapids, Michigan that contained one pound and
                  15.3 ounces of positively tested methamphetamine. (MET
                  complaint # MET-04-20.) and further intercepted the delivery of
                  a package to 750 Prince Street SE, Grand Rapids, Michigan that
                  appeared to contain methamphetamine, but ultimately was found
                  to be 1147.5 grams barium sulfate. Barium sulfate is known to
                  your Affiant as being “imitation meth” and sold on the street as
                  methamphetamine. Barium sulfate has the same look and
                  consistency as crystal methamphetamine. During this time,
                  investigators were conducting physical surveillance at 750 Prince
                  Street and observed THOMAS approach the USPS mail carrier to
                  inquire about the package. The mail carrier subsequently told
                  THOMAS that he couldn’t deliver the package, at which time
                  THOMAS offered the mail carrier money to deliver the package.

            c.    On June 15, 2022, the Grand Rapids Police Department
                  responded to 1011 Emerald Ave NE, Grand Rapids Michigan for
                  a domestic assault complaint. After their arrival on scene, it
                  appeared Michael and Kandice Thomas were the subjects who
                  were involved in the domestic complaint. The above address is
                  where both THOMAS and Kandice Thomas were living. While
                  investigating the complaint, Kandice Thomas stated there was
                  narcotics in the home that belonged to THOMAS and gave Grand
                  Rapids Police and their narcotics investigating team permission
                  to search the basement and kitchen area. After obtaining a
                  search warrant for the home, they located scales,2
                  methamphetamine, cocaine, multiple firearms, and U.S. currency
                  in the amount of $7,000. (GRPD Vice report # 22-032935.)

            d.    MSP sponsored Upper Peninsula of Michigan (“UPSET”) had an
                  ongoing narcotics investigation into THOMAS, as a supplier of
                  methamphetamine to the Upper Peninsula of Michigan. In the
                  fall of 2022, a subject was found to be in possession of
                  approximately three (3) pounds of methamphetamine. The
                  UPSET investigation has identified THOMAS as the source of
                  supply for that methamphetamine.


2 On November 15th, 2022, Officer Jake Bloom from Grand Rapids Vice Unit received

the lab report pertaining to a fingerprint taken from the scale. The lab report
indicated the fingerprint belonged to MICHAEL THOMAS.
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              e.    Between late 2022 and April 2023, investigators were provided
                    information from multiple Michigan State Police Confidential
                    Informants3 stating that THOMAS, or “Money,” is involved in the
                    distribution of large quantities of narcotics. Investigators were
                    provided the telephone number (616) 240-6733, which was
                    determined to be subscribed to THOMAS and associated to the
                    Subject Account. CI# 3 and CI# 4 both purchased quantities of
                    narcotics from THOMAS.

              f.    On July 7, 2023, SWET investigators applied for and were
                    granted a search warrant from the 61st District Court in Kent
                    County for Meta/Facebook records belonging to an identified
                    account of THOMAS. Upon receiving and examining the search
                    warrant return records from Meta/Facebook, your affiant
                    observed multiple conversations between THOMAS and other
                    Meta/Facebook users over the Facebook Messenger platform.
                    THOMAS was sending and receiving messages about drug
                    transactions, prices of narcotics, and violence being brought to
                    those who owed him money. For example, one message from
                    THOMAS stated “25 a p,” which based on my training, experience
                    and knowledge of this investigation, I believe that “2500 a p” and
                    “25 a P” is used often by individuals dealing in narcotics meaning
                    $2,500 for a pound of crystal methamphetamine. This is a
                    consistent price for methamphetamine in the greater Grand
                    Rapids area.

B.      Seizure of 5 kilograms of Methamphetamine

        10.   On August 30, 2023, during a traffic stop on westbound I-96 in Ionia

County, investigators seized over 5 kilograms (and almost 11 pounds) of


3 CI #1 has been deemed credible and reliable through conducting controlled
purchases of narcotics and providing information resulting in the recovery of stolen
goods.
CI # 2 has been deemed credible and reliable by providing substantial information
regarding drug activity that has been independently verified from other law
enforcement investigations and activities.
CI #3 has been deemed credible and reliable through controlled purchases of narcotics
and information that was independently verified by SWET detectives.
CI #4 has been deemed credible and reliable through controlled purchases of narcotics
and information that has led to the arrest of larceny suspects.
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methamphetamine from a car registered in THOMAS’s name and driven and solely

occupied by THOMAS’s half-sister and co-defendant, DANIELLE LENA-MARY

JONES, who was arrested that night and lodged at the Ionia County Jail.

      11.    During the traffic stop, JONES was using an iPhone and appeared to be

texting on the iPhone. After her arrest, investigators seized the iPhone and searched

it pursuant to a federal search warrant. See No. 1:23-mj-00404-RSK.

      12.    In JONES’s iPhone, the phone number correlating to the Subject

Account was saved under a contact named “Mike,” as in MICHAEL OSBORN

THOMAS.

      13.    Based on a review of text messages and call logs on JONES’s iPhone, on

August 30, 2023, beginning at approximately 7:39 a.m. and continuing through 9:22

p.m., there were approximately 13 Facetime contacts, 9 phone calls and a series of

text messages between JONES and THOMAS, using the phone number associated to

the Subject Account. Specifically, at approximately 9:22 pm., JONES sent a text

message stating, “Come get me!!” along with a pin of her location. This correlates to

the timing of the traffic stop discussed above, which happened around 9:00 p.m. (the

timestamps in the screenshot below are UTC+0).
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      14.   JONES also called THOMAS the following morning on August 31, 2023

from the Ionia County Jail.

      15.   On August 31, 2023, JONES was charged by federal criminal complaint

in the Western District of Michigan with possession with intent to distribute a

mixture and substance containing a detectable amount of methamphetamine, in

violation of 21 U.S.C. §§ 841(a)(1), 841 (b)(1)(C). This Court issued a warrant for

JONES’s arrest. See Case No. 1:23-mj-00395. JONES had her initial appearance the

same day, was appointed an attorney, and released on bond.

      16.   In September 2023, JONES participated in proffer interviews with

investigators, identified THOMAS’s phone number as (616) 240-6733, the phone
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number associated to the Subject Account, and confirmed that she refers to

THOMAS as “Mike.”

      17.    On August 30, 2023—the same day as the traffic stop and seizure of 5

kilograms of methamphetamine—investigators served the federal search warrant on

Apple for records and information associated with the Apple ID account that belongs

to THOMAS: “michaelrh1986@gmail.com.” Investigators seized data and messages

between THOMAS and JONES’s iPhone from mid-2020 through August 29, 2023 that

constitute evidence of THOMAS’s and JONES’s drug trafficking crimes.

      18.    For instance, THOMAS and JONES communicated about THOMAS

storing drug proceeds at JONES’s residence, and at times, needing access to the

money. On April 20, 2020, THOMAS messaged JONES: “Ik [I know] how much is

there it better not be a dollar short but it can be a dolla more or even a few hundred

more if you like.” JONES responded, “I don’t steal.” Ten days later, on April 30, 2020,

THOMAS messaged JONES: “I need 2 bands [$2,000]. Real quick.” JONES

responded, “Ok.” THOMAS asked, “Do I gotta come get it, or can you bring it, I gotta

take to kazoo [Kalamazoo]. Messages like this continued through 2023.

      19.    Messages between THOMAS and JONES also related directly to drug

trafficking and facilitating drug deals. For example, between July 15 and July 20,

2021, THOMAS and JONES exchanged the following messages:

             JONES:       Can I do a half of one for now?

             THOMAS:      Yea

             JONES:       Alright bet.
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                         When can I give you this money?

            THOMAS:      When ever you ready

            JONES:       I’m ready, how much?

            THOMAS:      It’s 35 for whole if I stay up here 32 if I go to the d

            JONES:       I only want half

            THOMAS:      Ok

      Based on my training and experience, I believe THOMAS and JONES were

discussing quantities and prices of drugs, likely half-pound and pound quantities of

methamphetamine. On October 8, 2022, THOMAS and JONES exchanged the

following messages:

            THOMAS:      I need you to handle something for me

            JONES:       What’s up

            THOMAS:      Ft [FaceTime] me asap

                         Call him when you get to the house

      It’s all a go waiting on you ft [FaceTime] me tho before you make a move

      JONES:       So imma have to wait at your house for an hour?

      JONES:       I’m about to head thay way now

                   What should it weight out

      THOMAS:      448

                   Or 16 zips [ounces]

      JONES:       I knew that lbs

                   Same as [tree emoji, reference to marijuana]
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      THOMAS:      Yea

                   Every person in play is stand up

      Based on my training and experience and involvement in this investigation, I

believe THOMAS had JONES go pick up a quantity of drugs, specifically 1 pound (16

ounces) of methamphetamine. I also know based on my training and experience that

drug dealers regularly use FaceTime, an end-to-end encrypted video messaging

service available on iPhones, to avoid law enforcement detection.

      20.    On September 27, 2023, investigators established physical and

electronic surveillance on THOMAS in the vicinity of 1936 Stonebrook Circle, Grand

Rapids, Michigan. Investigators subsequently coordinated the traffic stop of

THOMAS utilizing marked Michigan State Police patrol cars, at which time

THOMAS was taken into custody without incident on a federal arrest warrant for an

indictment charging conspiracy to distribute controlled substances and other related

offenses. Case No. 1:23-cr-117. Based on my training, experience and knowledge of

this investigation, I believe the Subject Account will contain additional evidence of

drug trafficking from the time of JONES arrest on August 30, 2023 to when

investigators arrested THOMAS on September 27, 2023.

C.    Toll Analysis of Subject Account

      21.    Investigators obtained toll records for numbers associated to THOMAS

and JONES from August 1, 2023 to September 6, 2023. Utilizing the phone number

associated to the Subject Account, THOMAS was in contact with JONES, using

phone number (616) 299-6760, approximately 399 times and also using phone number
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(616) 734-3202, approximately 136 times. Additionally, THOMAS was in contact with

DORIAN TENNILLE,4 using phone number (313) 690-8656, approximately 2 times

on August 31, 2023.

      22.    Based on my training, experience, and knowledge of this investigation,

I know that it is not uncommon for drug traffickers to utilize multiple cellphones.

Specifically, drug traffickers frequently compartmentalize phone numbers for family

members or certain members of their drug trafficking network that distribute various

quantities and types of narcotics. Furthermore, I know it is common to utilize iCloud

backup to transfer contacts, ongoing drug conversations and photographs among

these various cellphones.

                      BACKGROUND REGARDING APPLE5

      23.    Apple is a United States company that produces the iPhone, iPad, and

iPod Touch, all of which use the iOS operating system, and desktop and laptop

computers based on the Mac OS operating system.


4 (313) 690-8656 is subscribed to Dorian Armani Tennille, 34332 Marino St., Clinton

Twp, MI 48035, with an associated email of dorian.tennille@gmail.com.
On August 30, 2023, the Metro Narcotics Enforcement Team (“MNET”) observed
JONES at 15285 Young Street, Detroit, MI prior to the traffic stop of 5 kilograms
methamphetamine. MNET subsequently executed a State of Michigan search
warrant on the location and located various documents in the name of Julius
Williams, Jr and a security badge with a picture and name of TENNILLE.
5 The information in this section is based on information published by Apple on its

website, including, but not limited to, the following document and webpages: “U.S.
Law       Enforcement      Legal       Process      Guidelines,”   available    at
https://www.apple.com/legal/privacy/law-enforcement-guidelines-us.pdf; “Create and
start using an Apple ID,” available at https://support.apple.com/en-us/HT2039943;
“iCloud,” available at http://www.apple.com/icloud; “What does iCloud back up?,”
available at https://support.apple.com/kb/PH12519; “iOS Security,” available at
https://www.apple.com/business/docs/iOS_Security_Guide.pdf, and “iCloud: How Can
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      24.    Apple provides a variety of services that can be accessed from Apple

devices or, in some cases, other devices via web browsers or mobile and desktop

applications (“apps”). As described in further detail below, the services include email,

instant messaging, and file storage:

             a.     Apple provides email service to its users through email addresses

at the domain names mac.com, me.com, and icloud.com.

             b.     iMessage and FaceTime allow users of Apple devices to

communicate in real-time. iMessage enables users of Apple devices to exchange

instant messages (“iMessages”) containing text, photos, videos, locations, and

contacts, while FaceTime enables those users to conduct audio and video calls.

             c.     iCloud is a cloud storage and cloud computing service from Apple

that allows its users to interact with Apple’s servers to utilize iCloud-connected

services to create, store, access, share, and synchronize data on Apple devices or via

icloud.com on any Internet-connected device. For example, iCloud Mail enables a

user to access Apple-provided email accounts on multiple Apple devices and on

iCloud.com. iCloud Photo Library and My Photo Stream can be used to store and

manage images and videos taken from Apple devices, and iCloud Photo Sharing

allows the user to share those images and videos with other Apple subscribers. iCloud

Drive can be used to store presentations, spreadsheets, and other documents. iCloud

Tabs and bookmarks enable iCloud to be used to synchronize bookmarks and

webpages opened in the Safari web browsers on all of the user’s Apple devices. iCloud



I Use iCloud?,” available at https//support.apple.com/kb/PH26502.
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Backup allows users to create a backup of their device data. iWork Apps, a suite of

productivity apps (Pages, Numbers, Keynote, and Notes), enables iCloud to be used

to create, store, and share documents, spreadsheets, and presentations.          iCloud

Keychain enables a user to keep website username and passwords, credit card

information, and Wi-Fi network information synchronized across multiple Apple

devices.

             d.     Game Center, Apple’s social gaming network, allows users of

Apple devices to play and share games with each other.

             e.     Find My iPhone allows owners of Apple devices to remotely

identify and track the location of, display a message on, and wipe the contents of those

devices. Find My Friends allows owners of Apple devices to share locations.

             f.     Location Services allows apps and websites to use information

from cellular, Wi-Fi, Global Positioning System (“GPS”) networks, and Bluetooth, to

determine a user’s approximate location.

             g.     App Store and iTunes Store are used to purchase and download

digital content. iOS apps can be purchased and downloaded through App Store on

iOS devices, or through iTunes Store on desktop and laptop computers running either

Microsoft Windows or Mac OS. Additional digital content, including music, movies,

and television shows, can be purchased through iTunes Store on iOS devices and on

desktop and laptop computers running either Microsoft Windows or Mac OS.

      25.    Apple services are accessed through the use of an “Apple ID,” an account

created during the setup of an Apple device or through the iTunes or iCloud services.
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The account identifier for an Apple ID is an email address, provided by the user.

Users can submit an Apple-provided email address (often ending in @icloud.com,

@me.com, or @mac.com) or an email address associated with a third-party email

provider (such as Gmail, Yahoo, or Hotmail). The Apple ID can be used to access

most Apple services (including iCloud, iMessage, and FaceTime) only after the user

accesses and responds to a “verification email” sent by Apple to that “primary” email

address. Additional email addresses (“alternate,” “rescue,” and “notification” email

addresses) can also be associated with an Apple ID by the user. A single Apple ID

can be linked to multiple Apple services and devices, serving as a central

authentication and syncing mechanism.

      26.    Apple captures information associated with the creation and use of an

Apple ID. During the creation of an Apple ID, the user must provide basic personal

information including the user’s full name, physical address, and telephone numbers.

The user may also provide means of payment for products offered by Apple. The

subscriber information and password associated with an Apple ID can be changed by

the user through the “My Apple ID” and “iForgot” pages on Apple’s website. In

addition, Apple captures the date on which the account was created, the length of

service, records of log-in times and durations, the types of service utilized, the status

of the account (including whether the account is inactive or closed), the methods used

to connect to and utilize the account, the Internet Protocol address (“IP address”) used

to register and access the account, and other log files that reflect usage of the account.
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      27.     Additional information is captured by Apple in connection with the use

of an Apple ID to access certain services. For example, Apple maintains connection

logs with IP addresses that reflect a user’s sign-on activity for Apple services such as

iTunes Store and App Store, iCloud, Game Center, and the My Apple ID and iForgot

pages on Apple’s website.     Apple also maintains records reflecting a user’s app

purchases from App Store and iTunes Store, “call invitation logs” for FaceTime calls,

“query logs” for iMessage, and “mail logs” for activity over an Apple-provided email

account.    Records relating to the use of the Find My iPhone service, including

connection logs and requests to remotely lock or erase a device, are also maintained

by Apple.

      28.     Apple also maintains information about the devices associated with an

Apple ID. When a user activates or upgrades an iOS device, Apple captures and

retains the user’s IP address and identifiers such as the Integrated Circuit Card ID

number (“ICCID”), which is the serial number of the device’s SIM card. Similarly,

the telephone number of a user’s iPhone is linked to an Apple ID when the user signs

into FaceTime or iMessage.       Apple also may maintain records of other device

identifiers, including the Media Access Control address (“MAC address”), the unique

device identifier (“UDID”), and the serial number. In addition, information about a

user’s computer is captured when iTunes is used on that computer to play content

associated with an Apple ID, and information about a user’s web browser may be

captured when used to access services through icloud.com and apple.com. Apple also

retains records related to communications between users and Apple customer service,
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including communications regarding a particular Apple device or service, and the

repair history for a device.

         29.   Apple provides users with five gigabytes of free electronic space on

iCloud, and users can purchase additional storage space. That storage space, located

on servers controlled by Apple, may contain data associated with the use of iCloud-

connected services, including: email (iCloud Mail); images and videos (iCloud Photo

Library, My Photo Stream, and iCloud Photo Sharing); documents, spreadsheets,

presentations, and other files (iWork and iCloud Drive); and web browser settings

and Wi-Fi network information (iCloud Tabs and iCloud Keychain). iCloud can also

be used to store iOS device backups, which can contain a user’s photos and videos,

iMessages, Short Message Service (“SMS”) and Multimedia Messaging Service

(“MMS”) messages, voicemail messages, call history, contacts, calendar events,

reminders, notes, app data and settings, Apple Watch backups, and other data.

Records and data associated with third-party apps may also be stored on iCloud; for

example, the iOS app for WhatsApp, an instant messaging service, can be configured

to regularly back up a user’s instant messages on iCloud Drive. Some of this data is

stored on Apple’s servers in an encrypted form but can nonetheless be decrypted by

Apple.

         30.   In my training and experience, evidence of who was using an Apple ID

and from where, and evidence related to criminal activity of the kind described above,

may be found in the files and records described above. This evidence may establish

the “who, what, why, when, where, and how” of the criminal conduct under
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investigation, thus enabling the United States to establish and prove each element

or, alternatively, to exclude the innocent from further suspicion.

      31.    For example, the stored communications and files connected to an Apple

ID may provide direct evidence of the offenses under investigation. Based on my

training and experience, instant messages, emails, voicemails, photos, videos, and

documents are often created and used in furtherance of criminal activity, including

to communicate and facilitate the offenses under investigation.

      32.    In addition, the user’s account activity, logs, stored electronic

communications, and other data retained by Apple can indicate who has used or

controlled the account. This “user attribution” evidence is analogous to the search

for “indicia of occupancy” while executing a search warrant at a residence. For

example, subscriber information, email and messaging logs, documents, and photos

and videos (and the data associated with the foregoing, such as geo-location, date and

time) may be evidence of who used or controlled the account at a relevant time. As

an example, because every device has unique hardware and software identifiers, and

because every device that connects to the Internet must use an IP address, IP address

and device identifier information can help to identify which computers or other

devices were used to access the account. Such information also allows investigators

to understand the geographic and chronological context of access, use, and events

relating to the crime under investigation.

      33.    Account activity may also provide relevant insight into the account

owner’s state of mind as it relates to the offenses under investigation. For example,
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information on the account may indicate the owner’s motive and intent to commit a

crime (e.g., information indicating a plan to commit a crime), or consciousness of guilt

(e.g., deleting account information in an effort to conceal evidence from law

enforcement).

      34.    Other information connected to an Apple ID may lead to the discovery

of additional evidence. For example, the identification of apps downloaded from App

Store and iTunes Store may reveal services used in furtherance of the crimes under

investigation or services used to communicate with co-conspirators. In addition,

emails, instant messages, Internet activity, documents, and contact and calendar

information can lead to the identification of co-conspirators and instrumentalities of

the crimes under investigation.

      35.    Therefore, Apple’s servers are likely to contain stored electronic

communications and information concerning subscribers and their use of Apple’s

services. In my training and experience, such information may constitute evidence

of the crimes under investigation including information that can be used to identify

the account’s user or users.

                           AUTHORIZATION REQUEST

      36.    Based on the foregoing, I request that the Court issue the proposed

search warrant.

      37.    I    anticipate   executing   this   warrant     under    the   Electronic

Communications Privacy Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and

2703(c)(1)(A), by using the warrant to require Apple to disclose to the government
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copies of the records and other information (including the content of communications

and stored data) particularly described in Section I of Attachment B. Upon receipt of

the information described in Section I of Attachment B, government-authorized

persons will review that information to locate the items described in Section II of

Attachment B.

      38.    Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement

officer is not required for the service or execution of this warrant. The government

will execute this warrant by serving the warrant on Apple. Because the warrant will

be served on Apple, who will then compile the requested records at a time convenient

to it, reasonable cause exists to permit the execution of the requested warrant at any

time in the day or night.
